















 11th
Court of Appeals

 Eastland,
Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion

&nbsp;

State of Texas

Appellant

Vs.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;  No.
11-03-00223-CR B Appeal from Taylor County

William Henry Carothers

Appellee

&nbsp;

The State of Texas has filed in this court a
motion to dismiss its appeal.&nbsp; The motion
is granted, and the appeal is dismissed.

&nbsp;

PER CURIAM

&nbsp;

September 19, 2003

Do not publish.&nbsp; See TEX.R.APP.P. 47.2(b).

Panel consists of: Arnot, C.J., and

Wright, J., and McCall, J.





